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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   MAHMOUD KHALIL,


              Petitioner,

                                                     Case No. 2:25-cv-01963
                        v.


   WILLIAM P. JOYCE, et al.,

              Respondents




   BRIEF OF OVER 150 IMMIGRATION LAWYERS, LAW PROFESSORS,
    AND SCHOLARS AS AMICI CURIAE IN SUPPORT OF PETITIONER
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                          INTEREST OF AMICI CURIAE1


        Amici curiae are over 150 leading lawyers, law professors, and scholars who

  practice, write about, research, and teach immigration law.2 Amici collectively have

  many centuries of experience representing individuals at all stages of their

  immigration proceedings and in federal court. Regardless of their differing views

  on recent campus protests and the war in the Middle East, amici are united (1) in

  finding that the government’s reliance on 8 U.S.C. § 1227(a)(4)(C)(i) to deport a

  lawful permanent resident for political speech appears to be unprecedented; and (2)

  in concluding that 8 U.S.C. § 1227(a)(4)(C)(i) is unconstitutional.


        Amici have a strong interest in the outcome of this case. Allowing the federal

  government to target immigrants based on 8 U.S.C. § 1227(a)(4)(C)(i) will have

  devastating effects on immigrants, including lawful permanent residents; will

  upend the practice of immigration law; and will chill protected First Amendment

  speech not just on campuses but in communities nationwide.


                                   INTRODUCTION

  1
    No counsel for any party has authored this brief in whole or in part, no party or
  party’s counsel contributed money that was intended to fund preparing or
  submitting this brief, and no person other than amici or their counsel contributed
  money intended to fund preparing or submitting this brief..
  2
    A list of amici is set forth in Appendix II. The positions taken in this brief are
  those of amici alone and should not be attributed to any institution with which
  amici are or have been affiliated.

                                            1
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        Mahmoud Khalil has been charged under a provision of the Immigration and

  Nationality Act (INA) that makes deportable any “[noncitizen] whose presence or

  activities in the United States the Secretary of State has reasonable ground to

  believe would have potentially serious adverse foreign policy consequences for the

  United States.” 8 U.S.C. § 1227(a)(4)(C)(i), INA § 237(a)(4)(C)(i). This

  deportability ground includes an exception, which prohibits deportation because of

  a noncitizen’s lawful “past, current, or expected beliefs, statements, or

  associations, . . . unless the Secretary of State personally determines that the

  [noncitizen’s presence] would compromise a compelling United States foreign

  policy interest.” 8 U.S.C. § 1182(a)(3)(C)(iii), INA § 212(a)(3)(C)(iii) (emphasis

  added) (incorporated by reference through the exception in 8 U.S.C. §

  1227(a)(4)(C)(ii), INA § 237(a)(4)(C)(ii)).

        Among all the deportability grounds in the INA, Section 1227(a)(4)(C)(i)

  provides one of the most sweeping grants of discretionary executive power. This

  ground has almost never been invoked by the Department of Homeland Security

  (DHS), and amici are not aware of any cases where it has been used to try to detain

  and deport a permanent resident, let alone for political speech. The only federal

  district court to have considered the constitutionality of this ground held that it


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violates due process because it is unconstitutionally vague and deprives

noncitizens of a meaningful opportunity to be heard. See Massieu v. Reno, 915 F.

Supp. 681 (D.N.J. 1996), rev’d on other grounds, 91 F.3d 416 (3d Cir. 1996). In

Mr. Khalil’s case, it also runs afoul of the First Amendment.


                                    ARGUMENT

     I. Amici Are Unaware of The Government Having Ever Relied on 8 U.S.C.
        § 1227(a)(4)(C) to Deport a Permanent Resident for Political Speech

        It is not unusual for permanent residents to be placed in removal

proceedings. Nor is it novel for the government to target Palestinians or those who

express pro-Palestinian views where they have allegedly violated some other

provision of the immigration laws.3 However, the use of the foreign policy ground

relied on by DHS in Mr. Khalil’s case is extraordinarily rare, and we are unaware

of it ever having been used as a charge against a lawful permanent resident, prior

to March 2025, where the underlying conduct was itself political speech.

Upholding the use of Section 1227(a)(4)(C) in this case would give the federal

government power to deport permanent residents and other lawfully present

noncitizens at the whim of the Secretary of State (or at the whim of the President,


3
 Henry Weinstein, Final Two L.A. 8 Defendants Cleared, LA Times (Nov. 1,
2007).

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through the Secretary of State). As President Trump explained, “[t]his is the first

arrest of many to come.”4

        The implications of this case are by no means limited to noncitizens who

engage in pro-Palestinian speech. The presence of Ukrainians who are critical of

Russia, supporters of more security cooperation with Europe, and economists

skeptical of tariffs on Mexico, Canada, and China, could all suddenly be

considered adverse to U.S. foreign policy interests and subject to deportation based

on the unilateral determination of the Secretary of State. This list has no end, and

no meaningful limiting principles. In Massieu, the government’s reliance on the

foreign policy deportability ground was based on “nothing more than the obstinacy

of a foreign sovereign that is high on the list of nations that the United States must

not offend or disappoint.” 915 F. Supp. at 701 n.18.

     A. Section 1227(a)(4)(C) Is Unique Among Deportability Grounds Because
        It Purportedly Authorizes Deportation Based on the Unfettered
        Discretion of a Single Political Official

        Almost all of the deportability grounds in the Immigration and Nationality

Act (INA) require a lawfully present noncitizen to engage in some conduct to be

deported, such as committing a crime (1227(a)(2)), engaging in fraud (1227(a)(3)),


4
 Donald J. Trump (@realDonaldTrump), Truth Social, (Mar. 10, 2025, 1:05 PM),
at https://truthsocial.com/@realDonaldTrump/posts/114139222625284782.

                                           4
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or unlawfully voting (1227(a)(6)). Among the “[s]ecurity and related grounds” in

1227(a)(4), the foreign policy ground is the only one that can be invoked based

solely on the subjective beliefs of an executive official, rather than any action by

the noncitizen. Indeed, the other subsections of 1227(a)(4) require significant legal

breaches, such as engaging in terrorism, seeking to overthrow the U.S. government

through unlawful means, and participating in torture. See 8 U.S.C. §§

1227(a)(4)(A), (B), (D), (E), (F).

        By contrast, the foreign policy ground merely requires the presence of a

noncitizen and the decision of the Secretary of State; it does not target any conduct

whatsoever, let alone some specified kind of conduct. 8 U.S.C. § 1227(a)(4)(C)(i)

(referring to “presence or activities”). Nor does the foreign policy ground require a

showing of any actual adverse foreign policy consequences; it simply requires the

Secretary to have “reasonable ground to believe”—a determination the

immigration judge purportedly cannot question5—that the noncitizen’s presence or

activities “would have potentially serious” adverse foreign policy consequences.

Id. (emphasis added). By purportedly giving unfettered discretion to an executive




5
    See Part II.A.2 below.

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official to decide that someone lawfully present in the United States is deportable,

Section 1227(a)(4)(C) is a stark outlier among all the deportability grounds.

        During the 35 years that the foreign policy deportability ground has been in

existence, only one federal district court has had an opportunity to address it, and

that court determined it was unconstitutional in 1996. Massieu, 915 F. Supp. at

686. The district court in Massieu described this ground as a “breathtaking

departure” from “deportation based on adjudications of defined impermissible

conduct.” Id. The Third Circuit reversed the decision based on its finding that the

plaintiff had not exhausted administrative remedies, but never reached the

constitutional questions.

     B. Section 1227(a)(4)(C) Has Almost Never Been Invoked by DHS

        The foreign policy deportability ground was introduced in 1990 and

originally codified at INA § 241(a)(4)(C).6 The use of this provision to seek an

individual’s deportation is almost unprecedented in this ground’s 35-year history.

Based on publicly available data from the Executive Office of Immigration Review

(EOIR) and published Board of Immigration Appeals (BIA) decisions, out of 11.7



6
 In 1996, with the passage of the Illegal Immigration Reform and Immigrant
Responsibility Act, Pub. L. No. 104–208, the provision was transferred to INA §
237(a)(4)(C).

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million cases, DHS has invoked INA § 241(a)(4)(C)(i) or INA § 237(a)(4)(C)(i) as

a removal charge in only fifteen cases––and only five of which involved detention

throughout the proceeding.7 Decl. of Graeme Blair (“Blair Decl.”) ¶¶6, 14. In just

seven of these fifteen cases, the foreign policy deportability ground was the only

charge alleged throughout the proceeding—as was initially the case for Mr. Khalil.

Id. ¶14. Out of those seven cases, one individual was detained throughout the

proceeding. Id. Only four individuals ever were ultimately ordered removed or

deported after being charged with removability under this ground. Id. That

amounts to one person being ordered removed per decade under this provision.

        What’s more, nearly all of these cases arose in the distant past, shortly after

the provision was enacted. Focusing on the last 25 years, the EOIR data reflects

that INA § 237(a)(4)(C)(i) has been invoked only four times, and only twice has it

been the only charge alleged throughout the proceeding. Id. ¶12. We have not been

able to determine whether either of the two charged individuals over the past 25

years were lawful permanent residents—and narrowing further, whether they were

lawful permanent residents being charged with the foreign policy deportability



7
  In the EOIR data, cases may not necessarily mean different individuals. Blair
Decl. ¶6. Therefore, it is possible that this charge has been invoked against even
fewer than fifteen individuals.

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ground for only their speech. But neither of those two cases were detained

throughout their immigration proceedings. Id. ¶14. It may well be that Mr. Khalil’s

case is unprecedented in the history of this provision and in the history of the

United States. At a minimum, the government’s assertion of authority here is

extraordinary—indeed, vanishingly rare.

        The BIA decision in Massieu’s case confirms that the foreign policy

deportability ground “has been used very rarely.” Matter of Ruiz-Massieu, 22 I&N

Dec. 833, 838 (BIA 1999) (citing Matter of Khalifah, 21 I&N Dec. 107 (BIA

1995), as “the only published Board case”).8 The government’s decision to invoke

this singular charge against Mr. Khalil and to detain him in a far-away detention

center on that basis is alarming given this history. Although at least some uses of

the foreign policy ground appear to have resulted in deportations, the majority have

not, highlighting the problems with the overall discretion granted by the statute.

This case––which challenges the administration’s policy of viewpoint-based

immigration enforcement, not the INA itself––clearly falls outside any reasonable

application of the provision in light of the serious constitutional concerns explained

below.


8
 Amici have exhaustively searched unpublished BIA cases involving INA §
241(a)(4)(C) or INA § 237 (a)(4)(C) and have found none.

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   II. Section 1227(a)(4)(C) is Unconstitutional

          A. Section 1227(a)(4)(C) Violates Due Process

       It is well-settled that noncitizens have a right to due process. Reno v. Flores,

507 U.S. 292, 305–07 (1993); Felzcerek v. I.N.S., 75 F.3d 112, 115 (2d Cir. 1996).

Section 1227(a)(4)(C)(i) violates due process because it is void for vagueness and

deprives noncitizens of a meaningful opportunity to be heard, effectively resulting

in pre-judgment of their deportability.

              1.     Section 1227(a)(4)(C) Is Void for Vagueness

       The Supreme Court has long held that a person cannot constitutionally be

punished under a vague criminal statute, as this would undermine “ordinary rules

of fair play” and violate “the first essential of due process.” Connally v. Gen.

Constr. Co., 269 U.S. 385, 391 (1926). The void-for-vagueness doctrine has also

long been applied to deportation statutes. See Jordan v. De George, 341 U.S. 223,

231 (1951) (recognizing that deportation is a “drastic measure”). In 2018, the

Supreme Court relied on the void-for-vagueness doctrine to strike down the

residual clause of the “crime of violence” aggravated felony deportability ground.

Sessions v. Dimaya, 584 U.S. 148, 174-75 (2018).

       As the Supreme Court recognized in Dimaya, a law is unconstitutionally

vague if it fails either one of two clearly articulated tests. Id. at 155 (plurality); see


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also United States v. Watkins, 940 F.3d 152, 161 (2d Cir. 2019) (same). The key

questions are whether a statute “fails to provide a person of ordinary intelligence

fair notice of what is prohibited, or is so standardless that it authorizes or

encourages seriously discriminatory enforcement.” Vasquez v. Garland, 80 F.4th

422, 435 (2d Cir. 2023). The purpose of the first inquiry regarding fair notice “is to

enable the ordinary citizen to conform his or her conduct to the law.” City of

Chicago v. Morales, 527 U.S. 41, 58 (1999). The second inquiry, which has been

described as “the more important” of the two, Kolender v. Lawson, 461 U.S. 352,

358 (1983), requires a court to inquire whether the statutory language is “of such a

standardless sweep” that it allows enforcers “to pursue their personal

predilections.” Smith v. Goguen, 415 U.S. 566, 575 (1974). A statute must

establish “sufficiently clear standards to minimize the risk of arbitrary

enforcement.” Thibodeau v. Portuondo, 486 F.3d 61, 67 (2d Cir. 2007).

      Section 1227(a)(4)(C) violates both parts of the test. First, as the district

court held in Massieu, this deportability ground “provides absolutely no notice to

[noncitizens] as to what is required of them under the statute.” 915 F.Supp. at 699.

Since “no one outside the Department of State and, perhaps, the President ever

knows what our nation’s frequently covert foreign policy is at any given time, . . .

there is no conceivable way that [a noncitizen] could know, ex-ante, how to

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conform his or her activities to the requirements of the law.” Id. at 700.

Furthermore, “it is even less likely that [a noncitizen] could know that his or her

mere presence here would or could cause adverse foreign policy consequences

when our foreign policy is unpublished, ever-changing, and often highly

confidential.” Id. As Professor Jennifer Lee Koh has argued, “[n]otice before the

imposition of immigration penalties is particularly important because immigration

adjudications do not operate on a level playing field between the parties.” Jennifer

Lee Koh, Crimmigration and the Void for Vagueness Doctrine, 2016 WIS. L. REV.

1127, 1157 (2016) (internal quotation marks omitted).

      Second, Section 1227(a)(4)(C) is “so standardless that it authorizes or

encourages seriously discriminatory enforcement.” Vasquez, 80 F.4th at 435. It

fails to provide even “minimal guidelines to govern law enforcement,” and allows

the Secretary State, or the President, acting through the Secretary of State, “to

pursue their personal predilections.” Smith, 415 U.S. at 574–75. Because Section

1227(a)(4)(C) has no “explicit standards” and instead ostensibly gives the

Secretary of State total discretion to determine that a noncitizen’s presence has

potentially serious adverse foreign policy consequences, it permits deportation “on

an ad hoc and subjective basis, with the attendant dangers of arbitrary and



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discriminatory application.” Grayned v. City of Rockford, 408 U.S. 104, 108–09

(1972); see also Chatin v. Coombe, 186 F.3d 82, 89 (2d Cir. 1999) (same).

      Finally, as the Supreme Court has recognized, “where a vague statute abut(s)

upon sensitive areas of basic First Amendment freedoms, it operates to inhibit the

exercise of (those) freedoms,” leading people to “steer far wider of the unlawful

zone . . . than if the boundaries of the forbidden areas were clearly marked.”

Grayned, 408 U.S.at 109 (internal quotation marks and footnotes omitted).

Consequently, statutes that trigger First Amendment concerns have historically

received more scrutiny from courts when challenged as void for vagueness. Koh,

supra at 1138. Indeed, in cases pre-dating Dimaya, the Second Circuit suggested

that “[c]laims of facial invalidity” under the void-for-vagueness doctrine “are

generally limited to statutes that threaten First Amendment interests.” Arriaga v.

Mukasey, 521 F.3d 219, 223 (2d Cir. 2008) (citing Chapman v. United States, 500

U.S. 453, 467 (1991)); see also Ljutica v. Holder, 588 F.3d 119, 125 (2d Cir. 2009)

(“Outside the First Amendment context, we assess statutes for vagueness only as

applied.”) (citing United States v. Rybicki, 354 F.3d 124, 129–30 (2d Cir. 2003) (en

banc)).

      The Supreme Court made clear in Dimaya, however, that a statute need not

touch on First Amendment concerns to be void for vagueness on its face: there, the

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Supreme Court determined that the residual clause of the crime of violence

deportability ground was facially invalid despite the absence of First Amendment

interests, because the provision “produces more unpredictability and arbitrariness

than the Due Process Clause [of the Fifth Amendment] tolerates,” 584 U.S. at 175.

That holding serves to reinforce the conclusion that 1227(a)(4)(C), which clearly

threatens First Amendment interests, can be facially invalid under the void-for-

vagueness doctrine. Section 1227(a)(4)(C)(ii) expressly authorizes the Secretary of

State to rely exclusively on a person’s lawful “beliefs, statements, or associations”

in determining that a person should be deportable under the provision, as long as

the Secretary of State makes a personal determination that the foreign policy

interests are “compelling.” 8 U.S.C. § 1227(a)(4)(C)(ii) (incorporating by reference

8 U.S.C. § 1182(a)(3)(C)(iii), INA § 212(a)(3)(C)(iii).9 This intrusion into First

Amendment interests provides additional support for finding Section 1227(a)(4)(C)

unconstitutionally vague.




9
  The use of the word “compelling” in this exception distinguishes it from the
language in Section 1227(a)(4)(C)(i) requiring only “potentially serious adverse
foreign policy consequences.”

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           2.     Section 1227(a)(4)(C) Deprives Noncitizens of a Meaningful
      Opportunity to Be Heard and Effectively Permits Prejudgment of a
      Noncitizen's Case

      The fundamental right to due process requires a “full and fair opportunity to

present [one’s] claims.” Burger v. Gonzales, 498 F.3d 131, 134 (2d Cir. 2007);

Michel v. I.N.S., 206 F.3d 253, 259 (2d Cir. 2000). In a typical deportation

proceeding, DHS bears the burden of establishing deportability by “clear and

convincing evidence,” and an immigration judge’s decision must be based on

“reasonable, substantive, and probative evidence.” 8 U.S.C. § 1229a(c)(3)(A). That

decision is normally made after a full administrative hearing, where the noncitizen

has “a reasonable opportunity to examine the evidence” submitted by DHS, to

present evidence, and to cross-examine the government’s witnesses. 8 U.S.C. §

1229a(b)(4)(B). In the government’s view, under Section 1227(a)(4)(C), however,

it is the Secretary of State who unilaterally determines that a noncitizen is

deportable. Even though a noncitizen charged under this ground has a technical

right to a hearing before an immigration judge, the BIA has determined that there

is no way for the noncitizen to actually question or challenge the Secretary of

State’s determination: no evidence must be presented to support the Secretary of

State’s assertions, and no opportunity is provided for the noncitizen to cross-



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examine the Secretary of State or any other government official about the alleged

foreign policy concerns. Matter of Ruiz-Massieu, 22 I&N Dec. at 844-45.

      In Matter of Ruiz-Massieu, the majority of the Board, sitting en banc, held

that the Secretary of State’s letter “should be treated as conclusive evidence of the

respondent’s deportability,” finding that the immigration judge had “erred in

holding that the [government] is obliged to present clear, unequivocal, and

convincing evidence in support of the Secretary of State’s belief.” Id. at 842

(emphasis added). The Board reasoned that the government met its burden of proof

“by the Secretary’s facially reasonable and bona fide determination that the

respondent’s presence here would cause potentially serious adverse foreign policy

consequences for the United States.” Id. (emphasis added). The Board stressed that

the statute granted the Secretary of State “exclusive authority” to determine the

existence of a “reasonable ground” for believing in potentially serious adverse

foreign policy consequences, id. at 842, and confirmed “the fundamentally

ministerial aspect of the Immigration Judge’s role” in such proceedings. Id. at 844.

Any other approach, according to the Board, would require the immigration judge

and the Board to “intrude into the realm of foreign policy.” Id. at 844.

      The extreme deference given to the Secretary of State’s determination under

the Board’s decision in Ruiz-Massieu is similar to relying on “secret evidence,”

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which courts have found “cabined by constitutional due process limitations.” Kaur

v. Holder, 561 F.3d 957, 960 (9th Cir. 2009) (BIA violated due process by using

secret evidence against a petitioner); see also Zerezghi v. United State Citizenship

& Immigr. Servs., 955 F.3d 802, 813 (9th Cir. 2020) (vague reference to unspecific

records deprived U.S. citizen and his noncitizen wife of a meaningful opportunity

to respond in violation of due process); cf. Matter of Ruiz-Massieu, 22 I&N. Dec.

at 845 (reasoning that allowing the immigration judge to review the reasonableness

of the Secretary’s determination could require the government “to proffer secret or

confidential information and expert witnesses, or involve a deposition of the

Secretary of the State”). The Board’s interpretation of Section 1227(a)(4)(C) both

deprives the noncitizen of the right to a meaningful opportunity to be heard and

results in pre-judgment of deportability based solely on the Secretary of State’s

assertions, in violation of the Fifth Amendment.10




10
   By contrast, the Board has held that the “reasonable ground to believe” standard
in both the terrorist activity inadmissibility ground and the bar to withholding of
removal based on being a danger to the security of the United States are akin to
probable cause determinations. In re U-H-, 23 I&N Dec. 355, 356 (BIA 2003); see
also Guo Qi Wang v. Holder, 583 F.3d 86, 90 (2d Cir. 2009) (equating “serious
reasons to believe” standard to probable cause); Alarcon–Serrano v. I.N.S., 220
F.3d 1116, 1119 (9th Cir. 2000) (“reason to believe” standard for controlled
substance traffickers ground must be based on “reasonable, substantial, and
probative evidence”).

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          B. Section 1227(a)(4)(C) Violates the First Amendment

      The public statements made by both the White House and the State

Department confirm that Mr. Khalil was placed in deportation proceedings because

he engaged in constitutionally protected political protests. The Supreme Court long

ago stated, without qualification, that “[f]reedom of speech and of press is

accorded [noncitizens] residing in this country.” Bridges v. Wixon, 326 U.S. 135,

148 (1945). Bridges concerned an Australian union organizer who lived much of

his life in Southern California. Various U.S. government officials repeatedly

targeted him for his pro-labor speech activities, but the Supreme Court protected

him twice—first from jail and contempt of court in Bridges v. California, 314 U.S.

252 (1941), and later from deportation in Bridges v. Wixon.

      In the decades since Bridges v. Wixon was decided, the Supreme Court, on

several occasions, ruled against noncitizens who argued that immigration decisions

violated their free speech rights. Critically, however, in none of these cases has the

Court retreated from its holding that noncitizens living in the United States are

protected by the First Amendment. When the Supreme Court upheld the

deportation of former Communist Party members during the Red Scare, it did so

by concluding that the deportations were permitted by the First Amendment, which

at the time was less protective of the speech rights of citizens and noncitizens alike.

See Harisiades v. Shaughnessy, 342 U.S. 580, 592 & nn.18-19 (1951) (applying


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the framework in Dennis v. United States, 341 U.S. 494 (1951), a non-immigration

case). And when the Court rejected the speech claims of citizens who argued that

the exclusion of the Communist professor they had invited was pretextual, the

Court did not decide the core free speech question, holding only that it would not

look behind the facially valid reason given for the visa denial in order to sort out

whether the professor had really been excluded because of his speech. Kleindienst

v. Mandel, 408 U.S. 753, 770 (1972); cf. United States v. Armstrong, 517 U.S. 456

(1996) (refusing, in a non-immigration case alleging pretextual prosecution, to

permit discovery in order to look behind the facially valid reason given for the

charging decision). The Court’s approach in these cases is consistent with the

application of ordinary principles of free speech and constitutional law, not some

special watered-down set of protections for noncitizens. See Adam Cox, The

Invention of Immigration Exceptionalism, 134 YALE L.J. 329 (2024); Ahilan

Arulanantham & Adam Cox, Explainer on First Amendment and Due Process

Issues in Deportation of Pro-Palestinian Student Activist(s), Just Security (Mar.

12, 2025). Here, since the only basis for deporting Mr. Khalil is his political

speech, the present case does not involve the complicated issue of pretext that was

present in Mandel, or the selective prosecution question that plagued the

Palestinians who had fallen out of status in Reno v. American-Arab Anti-

Discrimination Comm., 525 U.S. 471, 488-92 (1999) (refusing to find selective


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prosecution of unlawfully present students, but still keeping the door open for

“outrageous” selective prosecution claims in such cases). Mr. Khalil, of course, is a

lawfully present permanent resident.

      As noted above, Section 1227(a)(4)(C) contains, on its face, an exception

openly authorizing deportation because of a person’s speech—so long as the

Secretary of State makes a “personal determination” that the ideological

deportation is warranted (according to the “compelling United States foreign

policy interest” standard). See 8 U.S.C. § 1227(a)(4)(C)(ii) (incorporating by

reference 8 U.S.C. § 1182 (a)(3)(C)(iii)). This provision clearly conflicts with the

Supreme Court precedents holding that the First Amendment protects the free

speech rights of noncitizens residing in the United States. Section 1227(a)(4)(C) is

therefore unconstitutional.

      If this statutory provision is permitted to stand, even temporarily, it will

continue to have a chilling effect on speech at universities and in communities

across the country. Amici have personally observed this chilling effect on their

campuses following Mr. Khalil’s arrest, especially since a second Columbia

student was arrested, and ICE searched the dorm rooms of two other Columbia

students without making any arrests. Students, scholars, professors, and others fear

speaking freely because President Trump announced that many more arrests will




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come, and Secretary of State Marco Rubio confirmed “we’re going to keep doing

it,”11 “revoking the visas and/or green cards . . . so they can be deported.”12

                                   CONCLUSION


      For the foregoing reasons, Mr. Khalil’s motion for a preliminary injunction


should be granted.


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11
   Kaia Hubbard, Secretary of State Marco Rubio Says “We’re Going to Keep
Going It” After Arrest of Columbia Activist, CBS News Face the Nation (Mar. 16,
2025).
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   Marco Rubio (@marcorubio), X (Mar. 9, 2025, 3:10 PM),
https://x.com/marcorubio/status/1898858967532441945.

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                               Certificate of Service

      I certify that on March 24, 2025, I electronically filed the foregoing brief

with the Clerk of the Court for the United States District Court for the District of

New Jersey. To the best of my knowledge, all participants in the case are registered

CM/ECF users, and service will be accomplished by the CM/ECF system.


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